Case 1:15-cv-07433-LAP Document 1325-6 Filed 01/04/24 Page 1 of 4




                  COMPOSITE
                  EXHIBIT 14

            (Filed Under Seal)
                 Case 1:15-cv-07433-LAP Document 1325-6 Filed 01/04/24 Page 2 of 4


Sandra Perkins

From:                              Meredith Schultz
Sent:                              Thursday, June 16, 2016 4:56 PM
To:                                Laura Menninger (lmenninger@hmflaw.com)
Cc:                                Sigrid Mccawley; Paul Cassell (cassellp@law.utah.edu); 'brad@pathtojustice.com'
                                   (brad@pathtojustice.com)
Subject:                           Proof of Service - Second Email
Attachments:                       Proof of Services



Laura,

I am writing to follow up on my June 13, 2016, letter and my June 14, 2016 email (attached), where I requested that you
provide me with your proofs of service for the subpoenas you issued in this case. I requested that you provide them to
me yesterday, but you have not done so. You made the same request of us and we provided our proofs of service to
you earlier this week.

We are in the process of making travel arrangements for the depositions you noticed next week and scheduling around
other matters and want to confirm that those witnesses have all been served with subpoenas and are attending the
depositions set forth below:

Rebecca Boylan -Wednesday, June 22 nd 9:00 a.m. - Fort Lauderdale 401 E. Las Olas at Gray Robinson's office - suite
1000.
Michael Austrich -Thursday June 23 rd 9:00 a.m. - Ocala Florida - Owens & Associates - 108 N. Magnolia Ave
Tony Figueroa - Friday June 24 t h - 9:00 a.m. - 1 Florida Park Drive, U.S., Suite 214, Palm Coast Florida

Accordingly, kindly provide me - today -your proofs of service for all of the subpoenas you have issued in this case.

Thank you,

Meredith




Meredith L. Schultz
;;{)JES, SCJIILLE1: &. CLF:-;.'NER '.XP
401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsillp.com




                                                            1
                Case 1:15-cv-07433-LAP Document 1325-6 Filed 01/04/24 Page 3 of 4


Sandra Perkins

From:                              Meredith Schultz
Sent:                              Tuesday, June 14, 2016 3:15 PM
To:                                Laura Menninger (lmenninger@hmflaw.com)
Cc:                                Sigrid Mccawley; Sandra Perkins; Deborah Knowlton
Subject:                           Proof of Services
Attachments:                       PROOF OF SERVICES.PDF



Laura,

I'm following up on my June 14, 2016, letter, wherein, I agreed, as a courtesy, to provide you with proofs of service. They
are attached. In the same letter, I requested that you do the same, and provide me with your proofs of service
associated with the subpoenas you have issued in this case. Having made the request of me and having received a
response, I am sure you will agree to do so. Please send them to me by tomorrow.

Thanks,

Meredith

Meredith L. Schultz
DCJ1ES. SCHILLER & FLL:XNf:R LLP
401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsfllp.com




                                                            1
           Case 1:15-cv-07433-LAP Document 1325-6 Filed 01/04/24 Page 4 of 4




                                                                                        Meredith L. Schultz, Esq.
                                                                                      Email: mschultz@bsfllp.com


                                            June 13, 2016

 ViaCM/ECF

Laura A Menninger, Esq.
Haddon, Morgan and Foreman, P.C.
150 East 10th Ave.
Denver, CO 80203

        Re:     Giuffre v. Maxwell
                Case no. 15-cv-07433-R\VS - Regarding Certificates of Service

Dear Laura,

         I have lawfully served the witnesses in this case, and have undertaken great effort to
serve Ms. Marcinkova and Ms. Kellen. An affidavit from the process server engaged in that
effort documenting such efforts was served upon you and filed with this Court. I'm familiar with
Rule 45, and there is no requirement that certificates of service be served upon opposing counsel.
Notice is all that is required under the Rules. You, yourself, have not served such certificates of
service in this case. I completely reject your arbitrary statement that "[f]ailure to provide them . .
. will be understood as an acknowledgement that you have not, in fact, undertaken the good faith
efforts." We have said we did. I acknowledge no such thing, and such a statement is nonsense.

        In recognition of your request, I am in the process of gathering the certificates of service.
I will serve them on you, merely as a courtesy, as I collect them. Please likewise provide all
certificates of services for the witnesses you have noticed.

        While we are on the topic of absences of responses, you did not responds to my June 8,
2016, letter requesting a meet and confer call. Therefore, I write again to schedule a meet-and-
confer call regarding your grossly deficient production and improper objections in response to
Plaintiffs Second Request for Production. I am available for a meet and confer call on this
matter any time tomorrow and Wednesday, June 15, 2016, from 10:00 AM EST to 4:00 PM
EST. Please advise, by tomorrow, what time such a call works for your schedule.




                                                                   Meredith Schultz




                                           WWW , OS F LI.P , COM


                                           WWW .BSFLLP .COM
